 Case 2:16-cv-01266-RWS Document 12 Filed 02/08/17 Page 1 of 1 PageID #: 46




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-1266-RWS
                                    §
vs.                                 §
                                    §
THE WALT DISNEY COMPANY             §
                                    §
      Defendant.                    §
___________________________________ §



                                             ORDER

   Before the Court is Defendant The Walt Disney Company and Plaintiff Rothschild


Broadcast Distribution Systems, LLC’s Joint Motions to Substitute Parties and for Extension of

Time. After consideration of the same, the Court finds that they should be GRANTED.
       IT IS THEREFORE ORDERED that The Walt Disney Company is hereby dismissed

without prejudice and ABC, Inc. d/b/a Disney Movies Anywhere shall be substituted as a

defendant in these actions.

       IT IS ALSO THEREFORE ORDERED that ABC, Inc. d/b/a Disney Movies Anywhere

and RBDS’ Joint Motion to Extend Time to Answer or Otherwise Respond to the Original

Complaint of RBDS is hereby granted. Defendant’s time to answer or otherwise respond to the

Complaint is hereby extended up to and including March 8, 2017.

      SIGNED this 8th day of February, 2017.



                                                       ____________________________________
                                                       ROBERT W. SCHROEDER III
                                                       UNITED STATES DISTRICT JUDGE
